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December 21 , 2010

The Honorable Virginia M. Kendall

United States District Court

Northern District of Illinois

Everett McKinley Dirksen United States Courthouse

219 South Dearborn Street
Chicago, Illinois 60604

RE: US.A. v Cook Counly, et al
No. 10 C 2946

Dear Judge Kendall:

The enclosed report is my second report re: mental health services at the Cook County Jail
pursuant to the Agreed Order of May 13, 2010. Please contact me if you have any questions.

Sincerely,

CWTS M£`l@~\/MD

Jeffrey L. Metzner, M.D.
Clinical Professor of Psychiatry
University of Colorado School of Medicine

Attachments (Executive Summary, 12-21-10 Final Report, Appendices I-III)
Copies:

Donald J. Pechous, Esq.
Cook County State's Attorney’s Offlce

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MEMORANDUM

TO: Donald J. Pechous, Esq.
Cook County State's Attomey's Offlce

500 Richard J. Daley Center
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U.S. Department of Justice
P.O. Box 66400
Washington, DC 20035-6400

FROM: Jeffrey L. Metzner, M.D.

DATE: December 21, 2010
RE: U.S.A. v Cook Counly, et al
No. 10C2946

I have completed my assessment of the mental health services offered at the Cook County
Department of Corrections (CCDOC) through Cermak Health Services of Cook County
(CHSCC). I site visited CCDOC from December 12-17, 2010.

Sources of information utilized in compiling this report included the following:

1. review of documents provided in response to my written request for pre-site
information (see Appendix I), which included a status update to the Agreed Order,

2. review of agendas and minutes, since September 2010, re: weekly
psychiatry/psychology meetings,

3. review of the following documents:
a. Cermak Health Services Mental Health Classification - Levels of Care,

b. draft intake mental health screening policy,

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draft post-intake mental health screening policy,

draft suicide prevention program policy,

draft restraint and seclusion policy,

draft psychotropic medication policy,

job descriptions for the mental health unit director, psychiatrist and the relief psychiatrist
positions,

the CHS action item tracker,

draft health services request form,

Cerrnak MH CQI Metrics,

MH CQI minutes from October - November 2010,

draft Guidelines for Limited Use: Controlled Substances within a Correctional
Environment Benzodiazepines and Other Sedative-Hypnotics ,

m. slides relevant to the Cook County Sheriffs Training Institute re: suicide

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prevention,
4. the proposed unit-based psychiatric coverage plan,
5 . the DMH waitlist,

6. interviews with many inmates in group settings in Divisions II, IV, X, and in the

Cermak mental health units, and
7. information obtained from key administrative and clinical staff that included, but was

not limited to the following persons:

Michael Puisis, D.O. (Director of Cook County Bureau of Health),
Terre Marshall (Mental Health Director),

Avery Hart, M.D. (Director of Medical Services),
Nneka Jones, Psy.D. (Chief of Psychology),

Ralph Menezes, M.D. (Chief Psychiatrist (A)),

Elli Montgomery (Sheriff’ s Office Patient Advocate),
Marilyn Martinez (Superintendent, Division 10),
Carlos Quezada-Gomez, Psy.D.,

Pierre Nunez, Ph.D.,

Kelly Combs, Psy.D.,

Jamie Wemsman, Ph.D., and

Gary Knuik, Psy.D.

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l also met with the line mental health staff in a group setting during the December 16, 2010.

l found the staff from CHSCC to be courteous and helpful throughout my flve-day site visit.

In this report the term “inmate” will be used in contrast to “detainee” in order to be consistent
with the Agreed Order’s terminology, although the vast majority of persons admitted to CCDOC

are pre-trial detainees.

The Cook County Department of Corrections consists of 9 main divisions in a group of buildings

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covering over 100 acres.

The authorized number of available beds at CCDOC during December 10, 2010 was about 9837
with the inmate count being 8861. Reference should be made to Appendix II for a more detailed

summary of population and capacity information

As per the June 3, 2010 memorandum regarding the June 2, 2010 meeting that included attorneys
from the Department of Justice, attorneys and representatives of the Defendants, and the
monitors, my findings relevant to the Mental Health Care section of the Agreed Order are
summarized in Appendix III (5-13-10 Agreed Order Mental Health provisions). Consistent with
the June 2, 2010 meeting, l have forwarded my input to the other monitors who have primary
responsibility for sections that overlap With various mental health provisions as summarized in

the June 3, 2010 memorandum.

Please do not hesitate to contact me if l can answer any further questions.

Sincerely,

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Jeffrey L. Metzner, M.D.

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Executive Summary

This second site visit has focused on assessing the current state of compliance with the mental
health provisions of the Agreed Order. The mental health services remain in the early stages of
implementing the relevant provisions of the Agreed Order although some areas of significant
progress were found as compared to the June 2010 site assessment

The maj or areas of progress were as follows:

1. Two key leadership positions have been filled within the mental health services
(Terre K Marshall, mental health director and Nneka Jones, Psy.D., chief
psychologist).

2. All mental health staff positions are now Cook County employees in contrast to the

prior structure which included contract employees

The new "temporary" intake area for healthcare screening is now operational.

Beginning implementation of the electronic medical record (EMR) has occurred.

Mental health programming in most of the mental health housing units has increased.

A unit-based staffing model has very recently been implemented

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My September 2010 executive summary included the following:

Policies and procedures are in the process of being developed and/or revised,
which is a necessary before the implementation process re: most provisions of the
Agreed Order can be initiated. The policies and procedures will also have a
significant impact on the staffing plan that is required by the Agreed Order.
Paragraph 59 g addresses specific concerns about the current draft staffing plan.

As of December 2010, approximately 30% of the necessary mental health policies and

procedures have been finalized.

The September 2010 executive summary indicated that basic system issues that are in need of
change and improvement include the following:

1. access to care via both the intake mental health screening processes and the post-

intake referral processes,
2. treatment programming in the intermediate care programs and infirmary level of care

programs,
3. communication and joint decision making between custody and mental healthcare

administrators re: actions that impact on the mental healthcare system,
4. mental healthcare staffing allocations,

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5. development of a treatment team concept,

6. development of treatment plans,

7. mental health input into the disciplinary process,
8. medication management issues,

9. suicide prevention program, and

10. quality improvement activities.

Improvement was noted found during the December 2010 site assessment in many of the above
areas, but it should be emphasized that such improvements did not come close to compliance in
these areas with the Agreed Order. The need for improved communication and joint decision
making between custody and mental healthcare staffs at all levels re: actions that impact on the
mental health care system continues. This meeting is reflective of long-standing institutional
cultural barriers that involve both staffs. lt was my understanding that Cermak and CCDOC are
in the final stages of completion of the Inter-Agency MOA. It is unfortunate that the Department
of Facilities Management has chosen not to participate in this Inter-Agency MOA process,

The planned construction of a new RTU building remains on schedule.

Not surprisingly, the obstacles to implementing provisions of the Agreed Order continue to

include the following:

staffing allocation issues,

physical plant limitations,

institutional cultural issues, and

apparent longstanding interagency Working relationship issues between DFM,

CCDOC and Cermak.

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Summarv of Compliance Findings

All the mental health provisions of the Agreed Order assessed by this monitor Were found to be
in partial compliance. The following mental health provisions were/will be assessed by other

monitors (Ronald Shansky, M.D. or Susan McCampbell).

Not assessed by this Mom'tor

68. b. Within 24 months of the effective date of this Agreed Order, CCDOC shall
train all CCDOC staff members who work with inmates on the Facility’s
suicide prevention program, Implementation of such training shall begin as
soon as possible following the effective date of this Agreed Order. Staff shall
demonstrate competency in the verbal and behavioral cues that indicate

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potential suicide, and how to respond appropriately. Initial and at least
annual training shall be provided in accordance with generally accepted

professional standards.

Compliance Assessment: Refer to the report by Dr. Shansky.

F actual Findings:

June 2010 Cermak status update:
June 2010 Metzner assessment: Refer to the report by Dr. Shansky.

68. c. Within 12 months of the effective date of this Agreed Order, Cermak shall
train all Cermak staff members who work with inmates on the Facility’s
suicide prevention program. Implementation of such training shall begin as
soon as possible following the effective date of this Agreed Order. Staff shall
demonstrate competency in the verbal and behavioral cues that indicate

potential suicide, and how to respond appropriately. Initial and at least
annual training shall be provided in accordance with generally accepted

professional standards.
Compliance Assessment: Refer to the report by Dr. Shansky.

Factual Findings:

June 2010 Metzner assessment: Refer to the report by Dr. Shansky.

Recommendation:

69. CCDOC shall ensure that security staff posts will be equipped, as appropriate, with
readily available, safely secured, suicide cut-down tools.

Compliance Assessment: Refer to the report by Susan McCampbell.

Factual Findings:

June 2010 Metzner assessment: Refer to the report by Susan McCampbell.

